     Case 3:15-cr-00307-M Document 849 Filed 11/10/20             Page 1 of 2 PageID 3182



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §
                                                 §
NICOLE LEEDY,                                    §
                                                 §       Criminal Action No. 3:15-cv-0307-M-(13)
        Defendant.                               §
                                                 §
                                                 §

                                             ORDER

         Before the Court is Defendant’s “Motion to Correct Clerical Error Pursuant to Federal

Rules of Criminal Procedure Rule 36” (ECF No. 841). The Motion is GRANTED IN PART.

         On July 8, 2015, an Indictment was filed charging Defendant with Conspiracy to

Distribute a Controlled Substance. (ECF No. 1). On March 8, 2016, Defendant pled guilty to

Count One of the Indictment. (ECF Nos. 301, 316). On July 15, 2016, the Court sentenced

Defendant to 188 months of imprisonment, three years of supervised release, and a $100

mandatory special assessment on Count One of the Indictment. On August 12, 2016, the Court

filed a Judgment reflecting Defendant’s sentence. (ECF No. 523). The Judgment states that

Defendant’s sentence was to run concurrently with her related undischarged terms of

imprisonment in two state cases: Case Nos. 2015-CR-8834 and 2015-CR-8835.

         In her Motion, Defendant requests that the Court amend the Judgment to state that her

sentence should also run concurrently with the sentence of imprisonment imposed for her

unrelated state parole revocation, Case No. 2008-CR-11402, which was pending at the time of

sentencing.




                                                 1
  Case 3:15-cr-00307-M Document 849 Filed 11/10/20                  Page 2 of 2 PageID 3183



       At sentencing, the Court intended that Defendant’s sentence run concurrently with the

related undischarged terms of imprisonment in Case Nos. 2015-CR-8834 and 2015-CR-8835 and

consecutively with any terms of imprisonment for the pending unrelated parole violation in Case

No. 2008-CR-11402. The Court has confirmed that because the TDCJ ran Defendant’s

sentences from all three of her state cases concurrently with one another, and the Judgment was

silent on any sentence for the pending unrelated state parole revocation, the BOP has been

running Defendant’s sentence in this case consecutively with the three state sentences.

       Based on the clarifying information received from the BOP regarding its calculation of

the instant offense as it relates to the three state sentences, the Court will enter an Amended

Judgment with the specific wording required to reach its ultimate intent that Defendant received

credit for the remainder of the related state sentences. The Amended Judgment will also include

specific language regarding the application of USSG § 5G1.3(b) in this case, which was

addressed by the Court at sentencing.

       SO ORDERED.

       November 10, 2020.


                                              BARBARA M. G. LYNN
                                              CHIEF JUDGE




                                                 2
